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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE

  SMART VENT PRODUCTS, INC.,

                        Plaintiff,
                                        Civil No. 13-5691-JBS-KMW
              v.

  CRAWL SPACE DOOR SYSTEM, INC.,

                        Defendant.


                        AMENDED SCHEDULING ORDER

          This Scheduling Order is entered as a result of
correspondence dated July 7, 2015 Anthony J. DiMarino, Esquire,
counsel for plaintiff, with the consent of all counsel; and for
good cause shown:

            IT IS this 8th day of July, 2015, hereby ORDERED:

            1.     All deadlines are hereby STAYED through August 7,
2015.

           2. The Court will conduct a telephone status conference
on July 31, 2015 at 11:30 a.m.       Counsel for plaintiff shall
initiate the telephone call.

           3. Any application for an extension of time beyond the
deadlines set herein shall be made in writing to the undersigned
and served upon all counsel prior to expiration of the period
sought to be extended, and shall disclose in the application all
such   extensions   previously   obtained,  the   precise   reasons
necessitating the application showing good cause under FED. R. CIV.
P. 16(b), and whether adversary counsel agree with the application.
The schedule set herein will not be extended unless good cause is
shown.

          THE FAILURE OF A PARTY OR ATTORNEY TO OBEY THIS ORDER
MAY RESULT IN IMPOSITION OF SANCTIONS UNDER FED. R. CIV. P.
16(f).

                                      s/ Karen M. Williams
                                      KAREN M. WILLIAMS
                                      United States Magistrate Judge

cc:   Hon. Jerome B. Simandle
